                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )            Case No. 1:06-CR-140-1
 v.                                               )
                                                  )            Chief Judge Curtis L. Collier
                                                  )
 CORY WINSTON                                     )


                                             ORDER

        On June 25, 2007, United States Magistrate Judge William B. Carter conducted a change of

 plea hearing in this case and filed a Report and Recommendation (“R&R”). The R&R recommends

 (1) the Court accept the defendant’s guilty plea as to Count One of the Indictment, to the extent it

 charges a conspiracy to distribute five kilograms or more of a mixture and substance containing

 cocaine hydrochloride in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A); (2) the Court

 adjudicate the defendant guilty of the charges to which he has pleaded; (3) the Court accept the

 defendant’s plea agreement at the time of sentencing; and (4) the defendant be taken into custody

 pending sentencing in this matter (Court File No. 219).

        Neither party has filed objections to the R&R within the given ten (10) days. Therefore, after

 reviewing the record, the Court ACCEPTS and ADOPTS the R&R (Court File No. 219) pursuant

 to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

        (1) The defendant’s guilty plea to the lesser included offense of Count One of the Indictment

 is ACCEPTED;

        (2) The defendant is hereby ADJUDGED guilty of the charges to which he has pleaded;

        (3) A decision to accept the plea agreement is DEFERRED until sentencing; and




Case 1:06-cr-00140-CLC-CHS           Document 242          Filed 07/25/07     Page 1 of 2      PageID
                                           #: 129
       (4) The defendant IS TAKEN INTO CUSTODY until sentencing. Sentencing is set for

 Thursday, October 4, 2007, at 9:00 a.m.



       SO ORDERED.

       ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




                                             2


Case 1:06-cr-00140-CLC-CHS       Document 242     Filed 07/25/07   Page 2 of 2   PageID
                                       #: 130
